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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                      8 DIVISION

In re: Angel Rafael Leal                     §       Case No. 8:09-bk-07455-KRM
       Angela Maria Perez-Leal               §
                                             §
              Debtor(s)                      §
          CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Kelly Remick, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 04/16/2009.

       2) The plan was confirmed on 02/01/2010.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the plan
          on NA.

       5) The case was completed on 03/13/2014.

       6) Number of months from filing or conversion to last payment: 58.

       7) Number of months case was pending: 69.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $3,650.00.

       10) Amount of unsecured claims discharged without full payment: $98,882.54.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
       Total paid by or on behalf of the debtor(s)              $ 36,000.00
       Less amount refunded to debtor(s)                              $ 0.00
NET RECEIPTS                                                                        $ 36,000.00



Expenses of Administration:

        Attorney's Fees Paid Through the Plan                    $ 1,130.00
        Court Costs                                                   $ 0.00
        Trustee Expenses & Compensation                          $ 1,642.85
        Other                                                         $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                     $ 2,772.85

Attorney fees paid and disclosed by debtor(s):                   $ 2,470.00



Scheduled Creditors:
Creditor                                          Claim         Claim       Claim    Principal    Interest
Name                                 Class    Scheduled      Asserted    Allowed         Paid        Paid
GEMB/FAMOUS TATE                     Sec       5,374.00           NA          NA         0.00        0.00
OCWEN LOAN SERVICING                 Sec     168,711.00    167,723.93        0.00        0.00        0.00
Specialized Loan Servicing, LLC      Uns      85,010.00     85,010.00   85,010.00   21,381.02        0.00
Discover Financial Services          Uns           0.00      9,755.49    9,755.49    2,453.62        0.00
T-Mobile                             Uns           0.00        710.57      710.57      178.72        0.00
Educational Credit Management Corp   Uns           0.00      5,646.72    5,646.72    1,420.21        0.00
St. Joseph's Hospital                Uns           0.00         99.99       99.99       25.15        0.00
Portfolio Recovery Assoc.            Uns           0.00      3,104.78    3,104.78      780.89        0.00
eCast Settlement Corporation         Uns           0.00      1,379.22    1,379.22      346.89        0.00
Sallie Mae Trust                     Uns           0.00      7,855.88    7,855.88    1,975.85        0.00
Unifund CCR Partners                 Uns           0.00     12,925.99   12,925.99    3,251.04        0.00
Jefferson Capital Systems, LLC       Uns           0.00      5,621.05    5,621.05    1,413.76        0.00
Scott Rosin, PA                      Lgl       3,600.00      3,600.00    3,600.00    1,130.00        0.00




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Summary of Disbursements to Creditors:

                                             Claim            Principal          Interest
                                             Allowed          Paid               Paid
Secured Payments:
       Mortgage Ongoing                           $ 0.00           $ 0.00            $ 0.00
       Mortgage Arrearage                         $ 0.00           $ 0.00            $ 0.00
       Debt Secured by Vehicle                    $ 0.00           $ 0.00            $ 0.00
       All Other Secured                          $ 0.00           $ 0.00            $ 0.00
TOTAL SECURED:                                    $ 0.00           $ 0.00            $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00           $ 0.00            $ 0.00
        Domestic Support Ongoing                  $ 0.00           $ 0.00            $ 0.00
        All Other Priority                        $ 0.00           $ 0.00            $ 0.00
TOTAL PRIORITY:                                   $ 0.00           $ 0.00            $ 0.00

GENERAL UNSECURED PAYMENTS:                $ 132,109.69      $ 33,227.15             $ 0.00



Disbursements:

       Expenses of Administration            $ 2,772.85
       Disbursements to Creditors           $ 33,227.15

TOTAL DISBURSEMENTS:                                         $ 36,000.00




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 02/03/2015                        By: /s/ Kelly Remick
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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